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                                                                    336th District
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                                                                                                                                  Fannin   County, TXTX

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                                                                                                                                               NM


                                                             NO.

RANDALL N. FERRELL and                                                       IN THE DISTRICT COURT
BEVERLY A. FERRELL,                                                   [4]
PLAINTIFFS                                                            8      336" JUDICIAL DISTRICT
                                                                      B
V.                                                                    B      OF
                                                                      [4]
AVT TITLE SERVICES, LLC, as                                           8      FANNIN COUNTY, TEXAS
TRUSTEE FOR OPTION ONE
MORTGAGE CORP. AND WELLS
FARGO BANK, N.A. and LAYMAN
VENTURES, LLC,
DEFENDANTS


                                     PLAINTIFFS' ORIGINAL PETITION
                                 TO VACATE SALE UNDER DEED OF TRUST


 TO THE HONORABLE                       JUDGE OF SAID COURT:

           NOW        COMES          RANDALL            N. FERRELL            and BEVERLY         A. FERRELL,           Plaintiffs,

 complaining        of and      about      DEFENDANTS               AVT      TITLE         SERVICES,    LLC,    as Trustee        for

 WELLS          FARGO       BANK, N.A. and for OPTION ONE MORTGAGE                                     CORPORATION               and

 LAYMAN          VENTURES,            LLC, and for cause of action would respectfully show unto the Court

the following:

                                      DISCOVERY CONTROL PLAN LEVEL

           1.         PLAINTIFFS intend that discovery be conducted under Discovery Level 2.



                                                  PARTIES AND SERVICE

           2.         PLAINTIFFS           are individuals residing at 109 Tiger Lane, Trenton, Texas                       75490;

the last three numbers of RANDALL                        N. FERRELL's driver's license number are 715, and the

last three numbers of RANDALL N. FERRELL's social security number are 271.                                        The last three


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numbers of BEVERLY                    A. FERRELL's             driver's license number are 123, and the last three

numbers of BEVERLY A. FERRELL's social security number are 471.

           3.         DEFENDANTS are as follows:

           -        AVT TITLE SERVICES, LLC., is a Texas limited-liability company, as Trustee

for OPTION ONE MORTGAGE CORPORATION and for WELLS FARGO BANK, N.A. with

its business at 5177 Richmond Avenue, Suite 1230, Houston, Texas                         77056, and its agent for

service at that address is RANDY DANIEL or any officer of the company;

           -        LAYMAN           VENTURES, LLC, a Texas limited-liability company, whose business

address is 740 Scott Road, Bells, Texas                    75414, and its agents for service at that address are

CAROL LAYMAN or MONTE LAYMAN.




                                              JURISDICTION AND VENUE

           4,         The court has jurisdiction over this action, and venue in Fannin County, Texas is

proper in this cause because this action involves real property located in Fannin County.



                                                                 FACTS

           5.         This is an action to vacate a void Trustee's Sale due to wrongful foreclosure on

real property described in a Deed of Trust dated May 3, 2006, recorded in Volume                              1230, Page

90, of the Real Property Records of Fannin County, Texas.                       A true and correct copy of the Deed

of Trust is attached as EXHIBIT A and is incorporated herein by reference.                          Defendants failed

to comply with the provisions of the Texas Property Code in regard to foreclosures under a Deed

of Trust as hereinafter set forth.

           6.         Plaintiffs are the rightful owners, and are entitled to possession of the Property by


                                                                                                 I                EE
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virtue of a deed to them dated May 3, 2006, filed of Record in Fannin County Deed Records,

Vol. 1230, Page 97.               On May 3, 2006, Plaintiffs executed a purchase money Real Estate Note

secured by the above-described Deed of Trust to TEXAS                          CAPITAL        BANK, N.A.          The Note

and Deed of Trust were subsequently transferred and assigned numerous times and, finally, to

AVT,      Trustee        for    WELLS           FARGO    BANK,       N.A.      and    OPTION      ONE      MORTGAGE

CORPORATION.                    Although the property is encumbered by the Deed of Trust lien in favor of

TEXAS CAPITAL BANK, N.A,, and its assignees, Plaintiffs have at all times made regular and

timely payments on the Note and are not delinquent as to any payment or in default of any

obligations or covenants                 owed    to Defendants     under     the provisions    of the Deed        of Trust.

Nevertheless,       on     or    about     March    1, 2022,     Defendant     AVT    TITLE     SERVICES,          LLC,      as

Substitute Trustee, acting on instructions from                    WELLS        FARGO     BANK,      N.A.,     Trustee      for

OPTION        ONE        MORTGAGE               CORPORATION,        and without giving the notices to Plaintiffs

required by the Texas Property Code, Section 51.002, wrongfully foreclosed on Plaintiffs’ home

at a Trustee's Sale to Defendant, LAYMAN                       VENTURES,       LLC.     Additionally, the statutorily-

required Notice of the Trustee's Sale was not posted at the place designated by the County

Commissioners Court of Fannin County preceding the date of the sale and WELLS                                       FARGO

BANK, N.A., being the holder of the debt, did not serve written notice of the proposed sale on

Plaintiffs by certified mail.             Further, Plaintiffs were not given notice of any intent to accelerate

the note and were not given an opportunity to cure any alleged default.                         Plaintiffs first received

notice of the foreclosure sale when a representative of Defendant LAYMAN                            VENTURES,            LLC

delivered them a notice that it had purchased Plaintiffs’ home at a Trustee's auction and in which

it inquired about Plaintiffs’ plan to vacate their home.

         7.         By this wrongful foreclosure sale and LAYMAN's                      notice to Plaintiffs, Plaintiffs



EE                                                                                                                  —
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have    been     effectively       dispossessed         of the property,         and     the     Substitute       Trustee's      Deed     to

LAYMAN            VENTURES,              LLC      dated      March       7,   2022,    of      record     in    Document         Number

2022002301         in the Official         Records        of Fannin      County,      Texas,     should        be set aside,      and    the

referenced      foreclosure       sale vacated        as invalid, unenforceable,               void, and without right against

Plaintiffs.       A true and correct copy of the Substitute Trustee's Deed is attached hereto, marked

as EXHIBIT B and incorporated herein by reference.

          8.         Defendant LAYMAN VENTURES, LLC. has demanded possession of Plaintiffs’

home and threatened the filing of an eviction suit against them if they do not vacate.                                       Unless the

Trustee's Deed is removed and the foreclosure set aside as void, Plaintiffs will lose possession of

their home, without compensation, and without having a fair opportunity to sell or mortgage the

property at some future date to obtain full benefit of its appreciated value.




                                                      ATTORNEY'S FEES

          9.         Plaintiffs sent Defendants a written notice of this suit by certified mail at least ten

days prior to the filing of this action, including their request for Attorney's fees, and are entitled

to recover attorney's fees and costs should Plaintiffs prevail in this action.



                                                               PRAYER

          WHEREFORE,                    PREMISES              CONSIDERED,                   PLAINTIFFS,              RANDALL              N.

FERRELL and BEVERLY A. FERRELL, respectfully request that DEFENDANTS be cited to

appear and answer; that the Court, after hearing, grant Plaintiffs a judgment against Defendants

vacating the wrongful foreclosure sale, setting aside the Substitute Trustee's Deed to Defendant,

LAYMAN          VENTURES, LLC, removing the cloud on Plaintiffs’ title, and awarding to Plaintiffs


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attorney fees and costs, and any further relief at law or in equity to which Plaintiffs are entitled.

                                                                  Respectfully submitted,




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                                                                   WILLIAM
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                                                                                         C. TERRY
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                                                                             402 North Center Street
                                                                             Bonham, TX 75418
                                                                             Tel. (903) 583-7476
                                                                             Attorney for Plaintiffs,
                                                                             RANDALL N. FERRELL
                                                                             and BEVERLY A. FERRELL




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